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                                     Law Offices of
                                 Thomas C. Moore, P.C.
                                  63 White Plains Road
                                  Bronxville NY 10708
                                     (914) 255-0108
                                 tom@thomasmoore.legal
                                 www.thomasmoore.legal

                                     September 14, 2018

VIA ECF
Honorable Vernon S. Broderick
United States District Court
Southern District of New York
40 Foley Square
Room 4115
New York, New York 10007

      Re: Great Western Ins. Co. v. Blue Capital Management, Inc., et al., No. 1:18-
      cv6249(VSB)

Dear Judge Broderick:

I represent John Drake, one of three directors of defendant Alpha Re Ltd. who are
defendants in this case. There is no D&O policy and these individuals (one of whom, I
understand, has yet to be served) will have to cover the costs of this matter
themselves. In order to limit the potential for unnecessary expense and delay, and in
the interests of litigation efficiency and streamlining motion practice before the Court,
I write to join in the request by counsel for the so-called “Blue Defendants,” seeking
an adjournment, and suggesting a pre-motion scheduling conference. (Docket no. 52)
The complaint currently contains three RICO counts. These provide the sole basis
alleged for federal court jurisdiction; the remaining counts are state claims as to which
plaintiff asks the Court to exercise supplemental jurisdiction. (Complaint ¶ 31.) RICO
is a notoriously difficult statute to parse and a further extension of time is warranted
on that basis alone. In addition, in an attempt to avoid duplication and save my client
money, I am attempting to coordinate with other defense counsel, where appropriate,
to enable my client to simply adopt, rather than repeat, arguments others will be
setting forth. That coordination takes time.
I also would request that the Court schedule briefing so as to first consider the
“gating” issue of personal jurisdiction over my client (and the other two Alpha Re
directors). My client never entered the jurisdiction in connection with the matters
alleged in the complaint. (I am informed this is true also of the other two Alpha Re
directors.) Unless the plaintiff can show minimum contacts of which I am unaware,
keeping Mr. Drake (and the other directors) in this case offends due process. This
jurisdictional issue should be decided, I submit, before putting them to the
considerable expense of an omnibus motion to dismiss.
At a pre-motion conference, I also respectfully would urge Your Honor to consider a
pre-motion protocol used by some other Judges in the Southern District, wherein
defendants submit pre-motion letters putting plaintiff on notice of any alleged
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deficiencies in the current complaint, following which Plaintiff would then have the
opportunity to stand by, or amend, its pleading. If Plaintiff chooses to stand by its
pleading, then it cannot amend after the motions have been fully submitted. See,
e.g., Rule III.B of the recently amended Individual Practices in Civil Cases of U.S.D.J.
Analisa Torres. This helps avoid the expense and delay of yet another round of
briefing on a second motion to dismiss any amended complaint, and the concomitant
burden on the Court’s resources.
One of the factors militating in favor of this approach is what I believe to be a fatal flaw
in the RICO counts. Plaintiff’s counsel recently filed with the Court an SEC Order
reached on consent with defendant Mark Graham (see Ex. A to docket #56-1). The
recitation of facts in the SEC Order mirror key elements of the predicate acts alleged in
plaintiff’s RICO counts. Because the SEC Order clearly establishes that the SEC
“could have” brought a securities fraud action arising from the acts pleaded in the
complaint here, the Private Securities Litigation Reform Act, 18 U.S.C. § 1964(c), bars
plaintiff’s RICO counts altogether. If just “one predicate act” in the alleged scheme is
actionable as securities fraud, “the whole scheme is subject to the PSLRA
bar.” Gilmore v. Gilmore, No. 09 Civ. 6230, 2011 WL 3874880, at *6 (S.D.N.Y. Sept. 1,
2011) (quoting Ling v. Deutsche Bank, AG, No. 04 Civ. 4566(HB), 2005 WL 1244689, at
*3 (S.D.N.Y. 2005). “[T]he dispositive inquiry is whether the alleged predicate acts
could form the basis for a securities fraud suit by the SEC.” In re Libor-Based Fin.
Instruments Antitrust Litig., 935 F. Supp. 2d 666, 726 (S.D.N.Y. 2013), vacated in part
on other grounds, Gelboim v. Bank of Amer. Corp., 823 F.3d 759 (2d Cir. 2016)
(emphasis added). See also, Friedman v. JP Morgan Chase & Co., 15-cv-5899 (JGK),
2016 WL 2903273, at *13-14 (S.D.N.Y. May 18, 2016) (dismissing RICO claims that
relied at least in part on conduct sounding in securities fraud); O’Callaghan v. N.Y.
Stock Exch., No. 12 Civ. 7247(AJN)(SN), 2013 WL 3984887, at *15 (S.D.N.Y. Aug. 2,
2013) (“[T]he PSLRA bars private causes of action under RICO for predicate acts that
describe conduct that would otherwise be actionable as securities fraud.”)
In order to avoid unnecessary motions, I would request that, at a pre-motion
conference, plaintiff should be required to explain whether it intends to stand by the
complaint as pleaded, or if it intends to offer an amended complaint in an attempt to
solve the PSLRA issue (although it seems impossible that this could be accomplished).
Our goal is to avoid wasting time, money and judicial resources attacking a moving
target.
As required by Your Honor’s rules, I disclose that plaintiff opposes any further
extension, and that the Court has previously granted my one request for an extension
of time to move as to the complaint, until September 28, 2018.
Respectfully submitted,
